Case 2:02-cr-20448-BBD Document 410 Filed 05/24/05 Page 1 of 3 Pa e|D 295

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESS
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintit`f,
v.

JOl-IN E. l\/lADlSON, SR., and
WILLIEANN D. MADISON,

Defendants.

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Er§s air

,_ 'D.C.

215 Ptl 121 09

 

 

ORDER GRANTING GOVERNMENT’S l\/IOTION
TO W]THDRAW MOTION FOR CONTEMPT
AS IT PERTAINS TO MEMPHIS FIRST COMMUNITY BANK

 

Before the Court is the government’s motion to be permitted to withdraw its April 20, 2005

request that Memphis First Community Bank be held in contempt for its pan in the foreclosure sale

of a parcel of real property located at 2771 Colony Park, Memphis, Tennessee. For good cause

shown, that motion is GRANTED.

IT is so oRi)ERED, image day er m

APPROVED:

TERRELL L. HARRIS
United States Attorne

  

 

C {ISTOPHER E. COTTEN
ssistant United States Attorney

  

 

Un' ed States District Judge

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 410 in
case 2:02-CR-20448 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

